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UN|TED STATES OF AN|ER|CA l.z‘;f CF-' ;r;':-::ti.‘pti»i§

Plaintiff
VS.

CR. NO. 05-20225-D

WlLL|E HEARD

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DEL.AY
AND SETT|NG

 

This cause came on for a report date on August 25, 2005. At that time, counsel for
the defendant requested a continuance of the September 6, 2005 trial date in order to
allow for additional preparation in the case.

The Court granted the request and reset the trial date to November 7, 2005 with a
report date of Thursday, October 27, 2005. at 9:€D_a.rn.. in Courtroom 3. 9th Floor of
the Federa| Bui|ding, Memphis, TN.

The period from August 25, 2005 through November18, 2005 is excludable under
18 U.S.C. § 3161(h)(8)(B)(iv) because the ends ofjustice served in allowing for additional
time to prepare outweigh the need for a speedy tria|.

|T IS SO ORDERED thisZ¢¢¢{ day of September, 2005.

RN CE . DONALD
UNITED STATES D|STR|CT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
case 2:05-CR-20225 Was distributed by faX, mail, or direct printing on
September 9, 2005 to the parties listed.

 

 

Stephen P. Hall

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Honorable Bernice Donald
US DISTRICT COURT

